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MEMPHls DlvlsloN 05 l l? iii-1 l@: 313

UN|TED STATES OF AMER|CA

 

-v- 2:02CR20333-02-B

K|MBERL¥ LYLES
T. Ciifton Harvie|, CJA
Defense Attorney
50 North Front Street, # 850
Memphis, TN 38103

 

JUDGMENT IN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 2 of the lndictment on September 16, 2003.
Accordingly, the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
Title & Section Men_$£ Offense Numberlsl
Conc|uded
18 U.S.C. § 371 and 2 Conspiracy to Commit an Offense 12/02/2002 2

Against the United States (Suborning
Perjury and Fa|se Dec|arations Before
the Court)

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |\/landatory
Victims Restitution Act of 1996

Counts 3, 4, 13 & 14 are dismissed on the motion of the United States.
IT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 1/22/1976 Nlay 16, 2005
Deft’s U.S. Nlarsha| No.: 18819-076 Tm

, . . Sdoc me"l‘enier
Defendant s l\/lal|lng Address: Wl¢h Ru,'e 55 / ed On th

9 d
4796 Roya| Run Drive a d Oraa(b) FHCrPC:-_,Cketsheetj Com fn
l\/lemphis, TN 38128 n ' /§~O§.’ance

J. DANlEL BREEN
NlTEo sTATEs DisTchT Juer

|V|ay j l , 2005

 

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Case No; 2:020R20333-02-B Defendant Name: Kimber|y LYLES Page 2 of/¢‘

PROBAT|ON

The defendant is hereby placed on probation for a term of 2 Years.

While on probation, the defendant shall not commit another federal1 state, or local
crime and shall not illegally possess a firearm, ammunition, or destructive device. The
defendant shall also comply with the standard conditions that have been adopted by this
court (set forth below). lfthisjudgment imposes a fine or a restitution obligation, it shall be
a condition of probation that the defendant pay any such file or restitution

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed bythe probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district without the permission ofthe court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, trainingl or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substancel or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7_ The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered', The defendant shall not associate with any persons engaged iri criminal
activityr and shall not associate with any person convicted of a feiony unless granted permission to do
so by the probation oft"icer;

B. The defendant shall permits probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ocher;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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3
Case No: 2:02CR20333-02-B Defendant Name: Kimberly LYLES Page 3 of,d/

10.

11.

12.

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notificaticns and to confirm the defendant's compliance with such
notification requirement

lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Nlonetary Penalties sheet of this judgmentl

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

The defendant shai| participate in the Home Detention program for a period of 6 Months.
During this time, defendant will remain at defendant’s place of residence except for
employment and other activities approved in advance by the Defendant's Probation Officer.
Defendant will be subject to the standard conditions of Home Detention adopted for use in
the Western District ofTennessee, which may include the requirementto wear an electronic
monitoring device and to follow electronic monitoring procedures specified by the Probation
Officer. Further, the defendant shall be required to contribute to the costs of services for
such monitoring not to exceed an amount determined reasonable by the Probation Officer.
Defendant shall be allowed to transport her motherfor required medical care.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance

with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ali of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Tota| Restitution

$100.00
The Special Assessment shall be due immediately

F|NE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

    
 

UNITED `SETATS DISTRIC COURT - WESTERN DSTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 190 in
case 2:02-CR-20333 Was distributed by faX, mail, or direct printing on
May ]8, 2005 to the parties listed.

 

 

T. Clifton Harviel

LAW OFFICE OF CLIFTON HARVIEL
50 N. Front St.

Ste. 850

Memphis7 TN 38103

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

